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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANET MONGE, :
Plaintiff : CIVIL ACTION
v.

UNIVERSITY OF PENNSYLVANIA eral, :
Defendants : No, 22-2942

ORDER

And now this If day of June, 2023, upon consideration of Paul Mitchell’s Motion to
Dismiss Dr. Janet Monge’s Amended Complaint (Doc. No. 42), Dr. Monge’s Response in
Opposition to Mr. Mitchell’s Motion to Dismiss (Doc. No. 81), Mr. Mitchell’s Reply Brief in
Support of His Motion to Dismiss (Doc. No. 96), and Dr. Monge’s Supplemental Memorandum
in Support of Her Response to the Defendants’ Motions to Dismiss (Doc. No. 102), it is hereby

ORDERED as follows, for the reasons set forth in the accompanying memorandum:
I. Mr. Mitchell’s Motion to Dismiss (Doc. No. 42) is GRANTED WITHOUT
PREJUDICE as to the defamation, defamation by implication, false light, and civil aiding

and abetting causes of action alleged in Dr. Monge’s amended complaint.

BY VHE COURT:

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GENE E.K. PRATTER
IFED STATES DISTRICT JUDGE
